831 F.2d 294
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Fred HODGES, Plaintiff-Appellant,v.Phil B. HARRIS, Judge, Defendant-Appellee.
    No. 87-5340
    United States Court of Appeals, Sixth Circuit.
    October 6, 1987.
    
      ORDER
      Before BOYCE F. MARTIN, Jr. and DAVID A. NELSON, Circuit Judges, and CONTIE, Senior Circuit Judge.
    
    
      1
      This case has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the record and the briefs, this panel agrees unanimously that oral argument is not needed.  Rule 34(a), Federal Rules of Appellate Procedure.
    
    
      2
      Upon consideration, we affirm the judgment of the district court for the reasons stated in its order dismissing the complaint filed February 11, 1987.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    